ALD-103                                       February 25, 2021
    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                     C.A. No. 20-3137

ANDREW JONES, Appellant

       VS.

DISTRICT ATTORNEY PHILADELPHIA, ET AL.

       (E.D. Pa. Civ. No. 2-19-cv-01685)

Present:      MCKEE, GREENAWAY, JR., and BIBAS, Circuit Judges

              Submitted is Appellant’s application for a certificate of appealability under
              28 U.S.C. § 2253(c)(1)


              in the above-captioned case.

                                           Respectfully,


                                           Clerk

________________________________ORDER_________________________________

Appellant Jones’s application for a certificate of appealability is granted. Jones seeks a
certificate of appealability on his sole habeas claim that trial counsel rendered ineffective
assistance in failing to present ballistics evidence concerning a shotgun and DNA testing
performed on the evidence. We are satisfied that “jurists of reason could disagree with
the district court’s resolution of [these] constitutional claims.” Miller-El v. Cockrell,
537 U.S. 322, 327 (2003). The Clerk will appoint counsel to represent Jones on appeal.
See 3d Cir. I.O.P. 10.3.2.
                                                            By the Court,

                                                           s/Joseph A. Greenaway, Jr.
                                                           Circuit Judge
Dated: August 31, 2021
NMR/cc:      Andrew Jones
             James S. Ballenger, Esq.
             Laura Zipin, Esq.
